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OIL SPILL BY THE OIL RIG DISTRICT COURT
“DEEPWATER HORIZON" EASTERN DISTRICT OF LOUISIANA
PLAINTIFF'S ATTORNEY DEFENDANT'S ATTORNEY DOCKET NUMBER

MDL 10-2179 SEC J

SEE LIST ATTACHED TO THE MINUTES
HEARING DATE
SEPTEMBER 3, 2010

PRESIDING JUDGE COURT REPORTER COURTROOM DEPUTY
CARL J. BARBIER CATHY PEPPER EILEEN STENSRUD
U.S. DEFT. DATE MARKED ADMITTED DESCRIPTION OF EXHIBITS* AND WITNESSES
NO. NO. OFFERE
D
1 9-3-10 Xx Xx DRAWING OF BLOW-OUT PREVENTER
BP 1 9-3-10 X X DECLARATION OF TIMOTHY J. ALLEN, P.E.
BP 2 9-3-10 X Xx LETTER OF NGUYEN TO BP, UNDATED
BP 3 9-3-10 Xx X SUBPOENA DUCES TECUM
TRAN 1 9-3-10 Xx Xx PICTURE OF BOP
TRAN 2 | 9-3-10 Xx X PICTURE OF BOP
TRAN 3} 9-3-10 X xX MACONDO PLUG & ABANDONMENT PROJECT
TRAN 4 | 9-3-10 Xx Xx ATTACHMENT 15
TRAN 5 | 9-3-10 Xx Xx SITE REQUIREMENT FOR INTERIM PRESERVATION
TRAN 6 | 9-3-10 Xx X PHYSICAL EVIDENT COLLECTION

*Include a notation as to the location of any exhibit not held with the case file or not available because of size.

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